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 7
 8                        UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10
11   DANIEL BROWN, an individual;              ) Case No.
     REBEKAH BROWN, an individual;             )
12                                             ) PLAINTIFFS’ COMPLAINT FOR
                  Plaintiffs,                  ) DAMAGES
13                                             )
            v.                                 )   1. GENERAL NEGLIGENCE
14                                             )       OF FEDERAL
     UNITED STATES OF AMERICA, a               )       GOVERNMENT
15   governmental entity; HARRY                )       EMPLOYEE (AND
     ALSTON, an individual;                    )       NEGLIGENCE PER SE);
16                                             )   2. NEGLIGENT
                  Defendants.                  )       ENTRUSTMENT;
17                                             )   3. NEGLIGENT HIRING
                                               )       TRAINING, SUPERVISION
18                                             )       AND/OR RETENTION OF
                                               )       EMPLOYEE;
19                                             )   4. LOSS OF CONSORTIUM.
                                               )
20                                             )
                                               )
21
22         COMES NOW PLAINTIFFS DANIEL BROWN and REBEKAH BROWN,
23   who are filing this Complaint against Defendants, UNITED STATES OF AMERICA,
24   a governmental entity, HARRY ALSTON, an individual.             Plaintiffs allege on
25   information and belief the following:
26         1.    On March 3, 2023, Harry Alston (“Alston”), negligently, carelessly,
27   recklessly, and unlawfully drove a 2021 Chevrolet, California license plate number
28   G434112X, owned by the United States General Services Administration (“GSA”), a

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 1   federal agency of Defendant United States of America, in violation of California
 2   Vehicle Code §21703, so as to fail to stop and cause a rear-end collision with Plaintiffs
 3   and causing Plaintiffs to sustain injuries therefrom.
 4                          PARTIES, JURISDICTION AND VENUE
 5          2.    Plaintiff DANIEL BROWN (hereinafter referred to as “DANIEL”) is an
 6   individual residing in Ontario, County of San Bernardino, State of California.
 7          3.    Plaintiff REBEKAH BROWN (hereinafter referred to as “REBEKAH”)
 8   is an individual residing in Ontario, County of San Bernardino, State of California.
 9          4.    Defendant UNITED STATES OF AMERICA (“USA”) is a federal
10   governmental entity. Upon information and belief, its headquarters is in Washington
11   D.C.
12          5.    Defendant HARRY ALSTON, an individual, is, and at all times
13   mentioned in this complaint was, a resident of Riverside County, California.
14          6.    All Defendants are subject to the jurisdiction and venue of this Court.
15          7.    Plaintiffs bring their causes of action against Defendants under 28 USC
16   §§2671, 2672, 2674, 2675 and 28 CFR 14.1 through 14.11.
17          8.    Plaintiffs were required to and did comply with the Federal Tort Claims
18   Act by initially filing a claim for damages with the Department of Veterans Affairs.
19   On or about, September 5, 2023, Plaintiffs filed claims for their injuries and damages
20   with the Department of Veterans Affairs.
21          9.    On September 16, 2023, Plaintiffs received a denial of their claims. The
22   claims are therefore deemed denied. This action is timely commenced.
23                                  COMMON ALLEGATIONS
24          10.   At all relevant times, DANIEL was driving a 2022 Kia Niro, California
25   license number 9BOV125.
26          11.   At all relevant times, Defendant ALSTON was driving a 2021 Chevrolet,
27   California license plate number G434112X.
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 1         12.    Plaintiffs are informed and believe, and on such information and belief,
 2   allege that at all times and places herein mentioned, Defendant USA was the owner,
 3   maintainer, and controller of the aforementioned 2021 Chevrolet, California license
 4   plate number G434112X.
 5         13.    At all times mentioned herein, Defendant USA employed Defendant
 6   ALSTON.
 7         14.    On or about March 3, 2023, Plaintiff DANIEL was driving westbound
 8   on Barton Road, approaching Campus Avenue, in the aforementioned 2022 Kia Niro.
 9         15.    At said time and place, in the scope of his employment, Defendant
10   ALSTON was driving behind Plaintiffs westbound on Barton Road, in a negligent and
11   reckless manner, and in violation of California Vehicle Code §21793, so as to follow
12   another vehicle more closely than is reasonable and prudent and cause a rear-end
13   collision with Plaintiffs.
14                                   FIRST CAUSE OF ACTION
15            [General Negligence & Negligence Per Se of Federal Agency Employee]
16         16.    As and for a separate and distinct cause of action, Plaintiffs allege against
17   Defendants USA, and ALSTON:
18         17.    Plaintiffs incorporate by reference the allegations contained in all
19   preceding paragraphs, and each and every part thereof with the same force and effect
20   as though set out at length herein. At all times herein mentioned, Defendants, and
21   each of them, owed a duty of due care to Plaintiffs to act in a reasonable, prudent, and
22   careful manner in the entrustment, ownership, operation, maintenance, and control of
23   the vehicle which they owned and/or operated so as to avoid causing harm or creating
24   a foreseeable risk of harm to others, including Plaintiffs.
25         18.    On or about March 3, 2023, Plaintiff DANIEL was driving in a careful
26   and prudent manner in the aforementioned 2022 Kia Niro.
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 1          19.    At said time and place, Defendant ALSTON was driving in a negligent
 2   and reckless manner on westbound on Barton Road, so as to cause a collision with
 3   Plaintiffs.
 4          20.    Defendants and each of them, so negligently and carelessly entrusted,
 5   owned, operated, maintained and controlled the subject vehicle so as to cause
 6   significant personal injuries and damages to Plaintiffs.
 7          21.    Defendant ALSTON was within the course and scope of his employment
 8   with the Department of Veterans Affairs, a federal agency of Defendant United States
 9   of America, and he was driving a 2021 Chevrolet, bearing California license number
10   G434112X, owned and entrusted by the General Services Administration, a federal
11   agency of Defendant United States of America, when he negligently, carelessly,
12   recklessly, and unlawfully operated, maintained, managed, and controlled the subject
13   vehicle causing the subject incident with Plaintiffs’ 2022 Kia Niro.
14          22.    At the time of the incident, Defendant ALSTON violated California
15   Vehicle Code §21703 – The driver of a motor vehicle shall not follow another vehicle
16   more closely than is reasonable and prudent, having due regard for the speed of such
17   vehicle and the traffic upon, and the condition of, the roadway.
18          23.    By reason of said negligence and carelessness of the aforesaid
19   Defendants, and each of them, and as a proximate result thereof, Plaintiffs DANIEL
20   BROWN and REBEKAH BROWN received severe injuries to their bodies. The
21   injuries received by Plaintiffs have greatly impaired their health, strength and activity
22   and have thereby caused and continue to cause them great mental, physical and
23   nervous pain and suffering and an extreme shock to their nervous systems. Plaintiffs
24   are informed and believe, and thereon allege, that said injuries will result in some
25   disability to them, all to their damages in an amount according to proof.
26          24.    As a further, direct and proximate result of the negligence of Defendants,
27   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
28   BROWN were required to, and did employ, and continue to employ, physicians and

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 1   others for medical care of said injuries, and did incur medical and incidental expenses
 2   in an amount according to proof. Plaintiffs are informed and thereon allege, that they
 3   will incur further medical and incidental expenses for the care and treatment of said
 4   injuries, the amount of which is unknown at this time, all to their further damages in
 5   an amount according to proof.
 6         25.    As a further, direct and proximate result of the negligence of Defendants,
 7   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
 8   BROWN are prevented from performing their usual occupation, or any occupation
 9   whatsoever, or has otherwise suffered a reduction in their capacity to work, and as a
10   result has been damaged in an amount according to proof. Plaintiffs are informed and
11   believe and on such information and belief alleges that by reason of said carelessness
12   and negligence of Defendants, and each of them, Plaintiffs will, in the future, be
13   prevented from attending to their usual occupation for an undetermined period of time,
14   or will continue to have a reduced capacity to earn income, all to their further damages
15   in an amount according to proof.
16                                SECOND CAUSE OF ACTION
17                                      [Negligent Entrustment]
18         26.    As for a separate and distinct cause of action, Plaintiffs allege against
19   Defendants USA:
20         27.    Plaintiffs incorporate by reference the allegations contained in all
21   preceding paragraphs, and each and every part thereof with the same force and effect
22   as though set out at length herein.
23         28.    Defendant ALSTON was negligent in operating the aforementioned
24   2021 Chevrolet. Defendant USA owned the subject Chevrolet operated by Defendant
25   ALSTON, and had a responsibility to make sure that the operators of their vehicles
26   were fit to drive.
27         29.    Defendant USA knew, or should have known, that Defendant ALSTON
28   was unfit and/or incompetent to drive the subject Chevrolet.          Defendant USA

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                                 PLAINTIFFS’COMPLAINT FOR DAMAGES
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 1   permitted Defendant ALSTON to drive the subject Chevrolet. Defendant ALSTON’s
 2   incompetence and/or unfitness to drive was a substantial factor in causing harm to
 3   Plaintiffs.
 4          30.    By reason of said negligence and carelessness of the aforesaid
 5   Defendants, and each of them, and as a proximate result thereof, Plaintiffs DANIEL
 6   BROWN and REBEKAH BROWN received severe injuries to their bodies. The
 7   injuries received by Plaintiffs have greatly impaired their health, strength and activity
 8   and have thereby caused and continue to cause them great mental, physical and
 9   nervous pain and suffering and an extreme shock to their nervous systems. Plaintiffs
10   are informed and believe, and thereon allege, that said injuries will result in some
11   disability to them, all to their damages in an amount according to proof.
12          31.    As a further, direct and proximate result of the negligence of Defendants,
13   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
14   BROWN were required to, and did employ, and continue to employ, physicians and
15   others for medical care of said injuries, and did incur medical and incidental expenses
16   in an amount according to proof. Plaintiffs are informed and thereon allege, that they
17   will incur further medical and incidental expenses for the care and treatment of said
18   injuries, the amount of which is unknown at this time, all to their further damages in
19   an amount according to proof.
20          32.    As a further, direct and proximate result of the negligence of Defendants,
21   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
22   BROWN are prevented from performing their usual occupation, or any occupation
23   whatsoever, or has otherwise suffered a reduction in their capacity to work, and as a
24   result has been damaged in an amount according to proof. Plaintiffs are informed and
25   believe and on such information and belief alleges that by reason of said carelessness
26   and negligence of Defendants, and each of them, Plaintiffs will, in the future, be
27   prevented from attending to their usual occupation for an undetermined period of time,
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                                 PLAINTIFFS’COMPLAINT FOR DAMAGES
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 1   or will continue to have a reduced capacity to earn income, all to their further damages
 2   in an amount according to proof.
 3                                   THIRD CAUSE OF ACTION
 4                   [Negligent Hiring, Retention, and Supervision of Employee]
 5         33.    As and for a separate and distinct Cause of Action, Plaintiffs allege
 6   against Defendants USA:
 7         34.    Plaintiffs incorporate by reference the allegations contained in all
 8   preceding paragraphs, and each and every part thereof with the same force and effect
 9   as though set out at length herein.
10         35.    Defendant USA had a duty to Plaintiffs to hire employees who are
11   competent and specifically trained to operate the vehicles owned by Defendant USA
12   in a safe and prudent manner.
13         36.    Defendant ALSTON was employed by Defendant USA and his
14   employment necessitated the operation of a motor vehicle. At the time of the subject
15   collision, Defendant ALSTON was working for Defendants USA and was the driver
16   of the subject Chevrolet.
17         37.    Plaintiffs are informed, believe, and thereon allege, that Defendant
18   ALSTON was unfit and/or incompetent to perform the work for which he was hired,
19   including the operation of a motor vehicle.
20         38.    Defendant USA knew or should have known that Defendant ALSTON
21   was unfit and/or incompetent and that their unfitness and/or incompetence created a
22   particular risk to any passengers and other drivers on the road.
23         39.    Plaintiffs are informed and believe, and thereon allege, Defendant
24   ALSTON’s unfitness and/or incompetence harmed Plaintiffs.
25         40.    Plaintiffs are informed and believe, and on such information and belief
26   thereon allege, Defendant USA failed and refused to properly hire, screen, train,
27   and/or supervise their employees to operate the vehicle owned by Defendant USA in
28   a competent manner.

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                                 PLAINTIFFS’COMPLAINT FOR DAMAGES
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 1         41.    On March 3, 2022, and prior thereto, the Defendant USA negligently
 2   hired, supervised, trained and/or retained Defendant ALSTON. Defendant ALSTON
 3   was hired, trained, and permitted to drive the Chevrolet. However, Defendant
 4   ALSTON was incompetent to perform the work for which he was hired.
 5         42.    The employees and agents of Defendant USA were negligent in hiring,
 6   training, supervising, and/or retaining Defendant ALSTON. Said negligence was a
 7   substantial factor in causing Plaintiffs’ harm.
 8         43.    The USA, its employees, and agents, knew, or should have known, a
 9   sufficient time prior to Plaintiffs’ injuries, the importance of properly training their
10   employees to avoid an incident such as the one in which Plaintiffs were injured.
11         44.    Plaintiffs allege that Defendant USA hired Defendant ALSTON, who
12   was unfit and/or incompetent to perform the work for which he was hired. Defendant
13   USA knew or should have known that Defendant ALSTON was unfit and/or
14   incompetent and that his unfitness and/or incompetence created a particular risk to
15   others. Defendant ALSTON’s unfitness and/or incompetence harmed Plaintiffs.
16   Defendant USA’s negligence in hiring, supervising, training, and/or retaining
17   Defendant ALSTON, was a substantial factor in causing Plaintiffs’ harm.
18         45.    As a direct result Defendant USA’s failure, and breached duty, Plaintiffs
19   were injured and suffered damages, and will suffer damages in the future as more fully
20   set forth above.
21         46.    By reason of said negligence and carelessness of the aforesaid
22   Defendants, and each of them, and as a proximate result thereof, Plaintiffs DANIEL
23   BROWN and REBEKAH BROWN received severe injuries to their bodies. The
24   injuries received by Plaintiffs have greatly impaired their health, strength and activity
25   and have thereby caused and continue to cause them great mental, physical and
26   nervous pain and suffering and an extreme shock to their nervous systems. Plaintiffs
27   are informed and believe, and thereon allege, that said injuries will result in some
28   disability to them, all to their damages in an amount according to proof.

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                                 PLAINTIFFS’COMPLAINT FOR DAMAGES
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 1         47.    As a further, direct and proximate result of the negligence of Defendants,
 2   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
 3   BROWN were required to, and did employ, and continue to employ, physicians and
 4   others for medical care of said injuries, and did incur medical and incidental expenses
 5   in an amount according to proof. Plaintiffs are informed and thereon allege, that they
 6   will incur further medical and incidental expenses for the care and treatment of said
 7   injuries, the amount of which is unknown at this time, all to their further damages in
 8   an amount according to proof.
 9         48.    As a further, direct and proximate result of the negligence of Defendants,
10   and each of them, as herein alleged, Plaintiffs GREGORY BROWN and REBEKAH
11   BROWN are prevented from performing their usual occupation, or any occupation
12   whatsoever, or has otherwise suffered a reduction in their capacity to work, and as a
13   result has been damaged in an amount according to proof. Plaintiffs are informed and
14   believe and on such information and belief alleges that by reason of said carelessness
15   and negligence of Defendants, and each of them, Plaintiffs will, in the future, be
16   prevented from attending to their usual occupation for an undetermined period of time,
17   or will continue to have a reduced capacity to earn income, all to their further damages
18   in an amount according to proof.
19                             FOURTH CAUSE OF ACTION
20                                    [Loss of Consortium]
21         49.    As and for a separate and distinct cause of action, Plaintiffs allege against
22   Defendants USA and ALSTON:
23         50.    Plaintiffs incorporate by reference the allegations contained in all
24   preceding paragraphs, and each and every part thereof with the same force and effect
25   as though set out at length herein.
26         51.    Plaintiffs DANIEL and REBEKAH were, and are, married at all times
27   mentioned herein.
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                                 PLAINTIFFS’COMPLAINT FOR DAMAGES
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 1          52.   As a substantial and legal result of Defendants’ aforementioned conduct
 2    and the injuries received by Plaintiff DANIEL, Plaintiff DANIEL has been unable to
 3    perform the work, services, and duties as a spouse, and will be unable to perform same
 4    in the future. By reason thereof, Plaintiff REBEKAH has been deprived of, and in the
 5    future will be deprived of, the work, services, duties, companionship, care, comfort,
 6    society, and consortium of said spouse, all to Plaintiffs’ damage in an amount
 7    according to proof.
 8          53.   As a substantial and legal result of Defendants’ aforementioned conduct
 9    and the injuries received by Plaintiff REBEKAH, Plaintiff REBEKAH has been
10    unable to perform the work, services, and duties as a spouse, and will be unable to
11    perform same in the future. By reason thereof, Plaintiff DANIEL has been deprived
12    of, and in the future will be deprived of, the work, services, duties, companionship,
13    care, comfort, society, and consortium of said spouse, all to Plaintiffs’ damage in an
14    amount according to proof.
15
16          WHEREFORE, Plaintiffs pray for judgment against all Defendants, and each
17    of them, as follows:
18          1. For economic damages in an amount according to proof;
19          2. For non-economic damages according to proof;
20          3. For interest and prejudgment interest;
21          4. Costs of suit herein incurred; and
22          5. Such other and further relief as the court may deem proper.
23
      DATED: February 6, 2025                        WALTER CLARK LEGAL GROUP
24
25                                                   By: __________________________
                                                           Dan C. Bolton
26                                                         Attorney for Plaintiffs Daniel
27                                                         Brown and Rebekah Brown

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 1                            DEMAND FOR JURY TRIAL
 2          Plaintiffs, DANIEL BROWN and REBEKAH BROWN hereby demand a trial
 3    by Jury.
 4
      DATED: February 6, 2025                      WALTER CLARK LEGAL GROUP
 5
 6                                                 By: __________________________
                                                         Dan C. Bolton
 7
                                                         Attorney for Plaintiffs Daniel
 8                                                       Brown and Rebekah Brown
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